Case 1:21-cr-00229-RBJ Document 249-1 Filed 04/11/22 USDC Colorado Page 1 of 13

 

Juror Question (s)

Please remember, you may submit a question only to the witness in this case, not to the Judge or attorneys.

 

 

 

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For Witness: LOM b4 OD Juror Questioning
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Question No. 45

ACTION BY THE COURT: [Permitted
0) Denied

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Case 1:21-cr-00229-RBJ Document 249-1 Filed 04/11/22 USDC Colorado Page 2 of 13

  

Juror Question (s)

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Juror Questioning
Procedure

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Existing rules of law, evidence,
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5. If the question can be asked,
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Question No. 3 i

ACTION BY THE COURT: EX Permitted
OO Denied

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Case 1:21-cr-00229-RBJ Document 249-1 Filed 04/11/22 USDC Colorado

 

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For Witness:

 

 

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Juror Questioning
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Question No. 2 L

ACTION BY THE COURT:

 

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Juror Question (s)

Please remember, you may submit a question only to the witness in this case, not to the Judge or attorneys.

 

 

 

 

For Witness: kK gent | A We | Juror Questioning
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Question No. 3 >

ACTION BY THE COURT: Permitted
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Page 5 of 13
Case 1:21-cr-00229-RBJ Document 249-1 Filed 04/11/22 USDC Colorado Page 6 of 13

 

Juror Question (s)

 

Please remember, you may submit a question only to the witness in this case, not to the Judge or attorneys.

For Witness: Agevct La mL

 

Juror Questioning
Procedure

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For Witness: {

 

   

 

 

 

 

    
  

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Juror Questioning
Procedure

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Question No. SH

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Juror Question (s)

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Please remember, you may submit a question only to the witness in this case, not to the Judge or attorneys.

 

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For Witness:

 

 

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Juror Questioning
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Question No. Se 4

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Please remember, you may submit a question only to the witness in this case, not to the Judge or attorneys.

 

 

 

For Witness: Juror Questioning
Procedure
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Question No. 32D
ACTION BY THE COURT: -Fermitted

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Case 1:21-cr-00229-RBJ Document 249-1 Filed 04/11/22 USDC Colorado Page 12 of 13

 

Juror Question (s)

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Case 1:21-cr-00229-RBJ Document 249-1 Filed 04/11/22 USDC Colorado

   

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Juror Question (s)

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For Witness:

 

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Juror Questioning
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